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 1 NICHOLAS F. REYES, #102114
   LAW OFFICES OF NICHOLAS F. REYES
 2 1107 R STREET
   FRESNO, CA 93721
 3 Telephone: 559-486-4500
   Facsimile: 559-486-4533
 4 Email: nfreyeslaw@gmail.com

 5 Attorney for Defendant
   RENE OMAR PEREZ ESTRADA
 6

 7

 8                           IN THE UNITED STATES DISTRICT COURT

 9                              EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,                         CASE NO. 2:16-CR-00110-TLN
11                              Plaintiff,             ORDER FOR SUBSTITUTION OF
                                                       ATTORNEY
12   v.
13   RENE OMAR PEREZ ESTRADA,
14                              Defendant.
15

16         Defendant, RENE OMAR PEREZ ESTRADA, hereby substitutes Nicholas F. Reyes,
17
     with law offices at 1107 “R” Street, Fresno, California 93721, in place and stead of
18
     CLEMENTE JIMENEZ, ESQ.
19

20
     Dated: June 30, 2017                              /s/ Rene Omar Perez Estrada
21                                                     Rene Omar Perez Estrada, Defendant

22
     Dated: July 5, 2017                               /s/ Clemente Jimenez
23                                                     Clemente Jimenez, Esq.

24 I accept the above substitution.

25 Dated: June 30, 2017                                /s/ Nicholas F. Reyes
                                                       Nicholas F. Reyes, Esq.
26
     IT IS ORDERED.
27
     Dated: July 6, 2017
28
                                                   1            Troy L. Nunley
                                                                United States District Judge
